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 1   Spencer Hosie (CA Bar No. 101777)               Moez M. Kaba, CA Bar No. 257456
     shosie@hosielaw.com                             mkaba@hueston.com
 2   Diane S. Rice (CA Bar No. 118303)               Rami Bachour, CA Bar No. 324844
     drice@hosielaw.com                              rbachour@hueston.com
 3
     Darrell R. Atkinson (CA Bar No. 280564)         Julia Haines, CA Bar No. 321607
 4   datkinson@hosielaw.com                          jhaines@hueston.com
     HOSIE RICE LLP                                  HUESTON HENNIGAN LLP
 5   505 Sansome Street, Suite 1575                  523 West 6th St., Suite 400
     San Francisco, CA 94111                         Los Angeles, CA 90014
 6   (415) 247-6000 Tel.                             Telephone: (213) 788-4340
     (415) 247-6001 Fax                              Facsimile: (888) 775-0898
 7

 8                                                   Douglas J. Dixon, CA Bar No. 275389
     Attorneys for Plaintiff                         ddixon@hueston.com
 9   MASTEROBJECTS, INC.                             Christina V. Rayburn, CA Bar No. 255467
                                                     crayburn@hueston.com
10                                                   Thomas B. King, CA Bar No. 241661
11                                                   tking@hueston.com
                                                     Neil G. Anderson, CA Bar No. 307668
12                                                   nanderson@hueston.com
                                                     Justin Sorensen, CA Bar No. 324817
13                                                   jsorensen@hueston.com
                                                     Lin Yang, CA Bar No. 336185
14                                                   lyang@hueston.com
15                                                   HUESTON HENNIGAN LLP
                                                     620 Newport Center Drive, Suite 1300
16                                                   Newport Beach, CA 92660 Telephone: (949)
                                                     229-8640 Facsimile: (888) 775-0898
17
                                                     Attorneys for Defendant
18
                                                     AMAZON.COM, INC.
19

20                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
21                                SAN FRANCISCO DIVISION
22

23   MASTEROBJECTS, INC.,                               Case No. 3:20-cv-08103-WHA

24                     Plaintiff,                       JOINT STIPULATED REQUEST AND
            v.                                          [PROPOSED] ORDER
25
     AMAZON.COM, INC.,
26
                                                        Complaint Filed: May 5, 2020
27                     Defendant.                       Trial Date: October 11, 2022

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     JOINT STIPULATED REQUEST AND [PROPOSED] ORDER                             Case No. 3:20-cv-08103-WHA
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 1            Plaintiff MasterObjects, Inc. (“MasterObjects”) and Defendant Amazon.com, Inc.

 2   (“Amazon”), pursuant to Civil Local Rule and 7-12, jointly submit this stipulated request for an order
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     of referral to the Special Master:
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              WHEREAS the last day to file discovery motions based on expert discovery violations was
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              on July 7, 2022, and the close of expert discovery was on July 14, 2022;
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              WHEREAS MasterObjects produced a one page email with several redactions from its
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 8            counsel (Hosie Rice LLP) to its damages expert (Dr. William Latham) on July 18, 2022;

 9            WHEREAS Amazon has questioned the scope of the redactions;
10            WHEREAS the parties asked if Special Master McElhinny were willing to review this one
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              page email in camera and assess whether the redactions were proper. Special Master
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              McElhinny agreed to assist with this dispute;
13
              NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by the Parties, and
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     subject to approval by the Court that: the dispute over MasterObjects’ redactions to counsel’s one
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     page May 21, 2022, email to Dr. Latham shall be referred to Special Master McElhinny for
16
     resolution.
17
     Dated:     August 16, 2022
18

19    /s/ Diane S. Rice                                /s/ Thomas B. King
      SPENCER HOSIE (CA Bar No. 101777)               Moez M. Kaba, CA Bar No. 257456
20    shosie@hosielaw.com                             mkaba@hueston.com
      DIANE S. RICE (CA Bar No. 118303)               Rami Bachour, CA Bar No. 324844
21    drice@hosielaw.com                              rbachour@hueston.com
      DARRELL R. ATKINSON (CA Bar                     Julia Haines, CA Bar No. 321607
22    No. 280564)                                     jhaines@hueston.com
23    datkinson@hosielaw.com                          HUESTON HENNIGAN LLP
      HOSIE RICE LLP                                  523 West 6th St., Suite 400
24    505 Sansome Street, Suite 1575                  Los Angeles, CA 90014
      San Francisco, CA 94111                         Telephone: (213) 788-4340
25    (415) 247-6000 Tel.                             Facsimile: (888) 775-0898
      (415) 247-6001 Fax
26
                                                      Douglas J. Dixon, CA Bar No. 275389
27                                                    ddixon@hueston.com
      Attorneys for Plaintiff                         Christina V. Rayburn, CA Bar No. 255467
28    MASTEROBJECTS, INC.                             crayburn@hueston.com

     JOINT STIPULATED REQUEST AND [PROPOSED] ORDER                             Case No. 3:20-cv-08103-WHA
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 1                                                   Thomas B. King, CA Bar No. 241661
                                                     tking@hueston.com
 2                                                   Neil G. Anderson, CA Bar No. 307668
                                                     nanderson@hueston.com
 3
                                                     Justin Sorensen, CA Bar No. 324817
 4                                                   jsorensen@hueston.com
                                                     Lin Yang, CA Bar No. 336185
 5                                                   lyang@hueston.com
                                                     HUESTON HENNIGAN LLP
 6                                                   620 Newport Center Drive, Suite 1300
                                                     Newport Beach, CA 92660 Telephone:
 7
                                                     (949) 229-8640 Facsimile: (888) 775-0898
 8
                                                     Attorneys for Defendant AMAZON.COM, INC.
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     JOINT STIPULATED REQUEST AND [PROPOSED] ORDER                          Case No. 3:20-cv-08103-WHA
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 1                                             ATTESTATION

 2          Pursuant to Civil Local Rule 5-1(h)(3), I attest that all other signatories listed, and on whose
 3   behalf this filing is submitted, concur in the filing’s content and have authorized the filing.
 4   Date: August 16, 2022                                                 /s/ Thomas B. King
                                                                           Thomas B. King
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     JOINT STIPULATED REQUEST AND [PROPOSED] ORDER                               Case No. 3:20-cv-08103-WHA
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 1                                        [PROPOSED] ORDER

 2

 3          PURSUANT TO STIPULATION, IT IS SO ORDERED.

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 6

 7          August 16, 2022
     Date: __________________                              ___________________________
                                                           Honorable William Alsup
 8                                                         United States District Judge
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     JOINT STIPULATED REQUEST AND [PROPOSED] ORDER                         Case No. 3:20-cv-08103-WHA
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